        Case 4:18-cv-00069-BMM Document 95 Filed 04/24/19 Page 1 of 3



JEAN E. WILLIAMS,
Deputy Assistant Attorney General
United States Department of Justice
Environment and Natural Resources Division

JOHN S. MOST,
Natural Resources Section
P.O. Box 7611
Washington, D.C. 20044
202-616-3353 || 202-305-0506 (fax)
John.Most@usdoj.gov

Counsel for Defendants


                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 ___________________________________
 MONTANA WILDLIFE FEDERATION, )                   CV 18-69-GF-BMM
 et al.                                 )
                                        )         FEDERAL DEFENDANTS’
           Plaintiffs,                  )         NOTICE OF LODGING THE
        v.                              )         ADMINISTRATIVE RECORDS
                                        )         FOR FOUR MONTANA
 RYAN ZINKE, Secretary of the Interior, )         LEASING DECISIONS
 et al.                                 )
                                        )
           Federal Defendants.          )
 ___________________________________ )


      On February 22, 2019, Federal Defendants gave notice that they had served

on the parties the administrative records (“ARs”) for the four Montana leasing

decisions in this case (specifically, the leasing decision for the Miles City parcels,

                                           1
        Case 4:18-cv-00069-BMM Document 95 Filed 04/24/19 Page 2 of 3



as offered at the December 2017 Montana lease sale; and the leasing decisions for

the Billings, Butte, and HiLine parcels, as offered at the March 2018 Montana

lease sale). Now Federal Defendants give notice that today they are lodging the

four ARs with the Court by transmitting two complete copies of the four records,

on separate flash drives, to the Clerk. Federal Defendants will file a declaration

certifying the records once Plaintiffs have advised whether they dispute the

completeness of the ARs. Federal Defendants note in this regard that the four

records being lodged today are identical to the four records lodged and certified in

civil action number 18-cv-00073-BMM (D. Mont.) (plaintiffs in that case

challenge the same four leasing decisions, although on grounds different from

those asserted here).

      The four ARs have been indexed and the documents (in PDF format), along

with relevant indexes (in Excel format), have been recorded on flash drives (each

drive contains all four ARs). The flash drives are being transmitted today by

FedEx standard overnight service to the Clerk’s office. The four ARs encompass

the following bates number ranges:

           Miles City     BLM-MT-MC-000001 to BLM-MT-MC-009472
           Billings       BLM-MT-BI-000001 to BLM-MT-BI-018856
           Butte          BLM-MT-BU-000001 to BLM-MT-BU-013795
           HiLine         BLM-MT-HI-000001 to BLM-MT-HI-012551

      Federal Defendants note some of the PDF files are quite large. To optimize

performance, it is recommended that the flash drives’ complete contents be copied
                                          2
        Case 4:18-cv-00069-BMM Document 95 Filed 04/24/19 Page 3 of 3



to users’ network or computer drives, rather than read from the flash drives

themselves.

      Respectfully submitted this 24th day of April, 2019.

                                        JEAN E. WILLIAMS
                                        Deputy Assistant Attorney General
                                        U.S. Department of Justice
                                        Environment and Natural Resources Division

                                         /s/ John S. Most
                                        JOHN S. MOST, Trial Attorney
                                        Natural Resources Section
                                        P.O. Box 7611, Washington, D.C. 20044
                                        202-616-3353 || 202-305-0506 (fax)
                                        John.Most@usdoj.gov

                                        Counsel for Federal Defendants




                          CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing is being filed with the Clerk of the
Court using the CM/ECF system, thereby serving it on all parties of record on
April 24, 2019.

                                        /s/ John S. Most
                                        JOHN S. MOST
                                        Counsel for Defendants




                                          3
